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                          EXHIBIT A
         PROPOSED SCHEDULE OF PRETRIAL AND TRIAL DATES

  CASE NAME: Benitez v. Powerline Funding, LLC
  CASE NO: 8:19-cv-00098-JLS-DFM

                                                       Plaintiff’s   Defendant’s
            Matter                   Deadline
                                                        Request       Request
  Last Day to File Motions to       Scheduling
  Add Parties and Amend          Conference Date      9/19/2019      9/19/2019
  Pleadings                        plus 60 Days
                                18 weeks before the
                                   Final Pretrial
  Fact Discovery Cut-Off                              2/28/2020      2/28/2020
                                    Conference
                                     (“FPTC”)
  Last Day to Serve Initial     16 weeks before the
                                                      3/13/2020      3/13/2020
  Expert Reports                       FPTC
  Last Day to File Motions
                                16 weeks before the
  (except Daubert and all                             3/13/2020      3/13/2020
                                      FPTC
  other Motions in Limine)
  Last Day to Serve Rebuttal    12 weeks before the
                                                      4/10/2020      4/10/2020
  Expert Reports                      FPTC
  Last Day to Conduct           9 weeks before the
                                                      5/1/2010       5/1/2010
  Settlement Proceedings              FPTC
                                8 weeks before the
  Expert Discovery Cut-Off                            5/8/2020       5/8/2020
                                      FPTC
  Last Day to File Daubert      7 weeks before the
                                                      5/15/2020      5/15/2020
  Motions                             FPTC
  Last Day to File Motions in
                                4 weeks before the
  Limine (other than Daubert                          6/5/2020       6/5/2020
                                     FPTC
  Motions)
  Final Pre-Trial Conference
                                                      7/3/2020       7/3/2020
  (Friday at 10:30 a.m.)
